                  IN THE UNITED STATES DISTRICT COURT
                   FOR THE EASTERN DISTRICT OF TEXAS
                           MARSHALL DIVISION


BRIGHT DATA LTD.

          Plaintiff,                  Case No. 2:21-CV-00225-JRG-RSP

     v.
NETNUT LTD.
          Defendant.




  BRIGHT DATA’S SUPPLEMENTAL BRIEFING PURSUANT TO COURT ORDER
 (DKT NO. 182) IN SUPPORT OF ITS MOTION FOR CORRECTIVE ACTIONS AND
    SANCTIONS FOR VIOLATION OF PROTECTIVE ORDER AND ABUSE OF
                         SETTLEMENT PROCESS
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       As directed by the Court’s June 17, 2022 Order (Dkt. 182), Bright Data files this brief

addressing the following issues: (1) Whether the Court’s Protective Order is enforceable after the

Court entered its Order dismissing the case; (2) Whether the Confidential Settlement Agreement

is subject to the Protective Order; (3) Whether the securities laws of the United States, or other

applicable laws, required NetNut1 to disclose the particular details of the Confidential Settlement

Agreement that Bright Data contends violated the Protective Order; and (4) What relief is

appropriate if a violation is found.

       First, as addressed below, there should be no reasonable dispute that the Court’s Protective

Order remains enforceable after the Court’s entry of its Order dismissing the case, including

because key provisions of the Protective Order would be rendered inoperable if the Protective

Order terminated as of the dismissal date. Second, the Confidential Settlement Agreement is

protected material under the Protective Order,

                                                                             . Bright Data did so

understanding that the Protective Order was the only basis for protection with regard to the earlier

drafts and against disclosure by the Finnegan firm, a non-party to the Settlement Agreement.

       Third, with regard to U.S. securities laws, this is a matter of law for the Court and not

subject to the factual evidence.2 As a matter of law, the Supreme Court has held that a company

need not disclose all material terms of a settlement agreement. As confirmed by Robert Evans, a

former Chief of the Office of International Corporate Finance, Securities and Exchange

Commission Division of Corporation Finance, which is responsible, in part, for advising non-US




1
 Consistent with earlier briefing, as used herein, “NetNut” includes its corporate parent.
2
  Thus, Bright Data notes that it believes an evidentiary hearing to be unnecessary to answer the
purely legal question of whether securities law require a party to provide details of a confidential
settlement agreement—that should be ruled on as a matter of law.
                                                 1
companies on compliance with the SEC’s disclosure requirements, NetNut was not required to

disclose specific confidential terms of the Settlement Agreement. NetNut’s assertion that it was

just doing what was required under the securities laws is clearly a sham—NetNut had agreed to



          . It is beyond reasonable dispute that it did neither, instead immediately upon Bright

Data’s filing for dismissal of the cases NetNut issued two press releases (one itself and one from

its counsel) and its counsel gave public statements to the press.

       Finally, NetNut’s unauthorized disclosure of Bright Data’s confidential information

through widely disseminated press releases by its parent company and counsel of record has



                        . While there is no remedy that can make Bright Data whole, in order to

offset some of the harm, the Court could issue a sanctions order against NetNut and its counsel of

record, requiring (a) the same to be filed with the SEC and disseminated to the same outlets that

were sent the press releases, (b) payment of Bright Data’s costs and fees associated with the filing

of this motion; and (c) any other relief the Court finds appropriate. Given that NetNut’s egregious,

immediate public disclosure would dissuade any parties from settling cases in this Court in the

future if there are not serious consequences, such other relief could include an additional monetary

sanction in an amount deemed by the Court sufficient to deter such conduct in the future.

       1. The Protective Order Remains Enforceable After Dismissal of the Action

       There is no real dispute that the Court has the authority to enforce its Protective Order after

dismissal of the case. Poliquin v. Garden Way, 989 F.2d 527, 535 (1st Cir. 1993) (“[A] protective

order, like any ongoing injunction, is always subject to the inherent power of the district court to

relax or terminate the order, even after judgment.”); Yates v. Applied Performance Techs. Inc., 205

F.R.D. 497, 500 (S.D. Ohio Jan. 14, 2002) ("[T]here seems to be little doubt that a protective order
                                                 2
issued by a court, either state or federal, which on its face survives the underlying litigation,

continues to have full force and effect on the parties subject to it even after the final resolution of

the underlying case, and the issuing court retains jurisdiction and authority to modify or revoke

it.”). The Protective Order (Dkt. 58) itself does not expire with dismissal of the action, and such

an expiration date would directly contradict the express prohibitions of the Protective Order itself.

The Protective Order includes terms that only come into force after termination. For example, the

Protective Order requires the parties to act after the final termination of the Action including

appeals that may require action years after the case is concluded:

       “Within thirty (30) days of the later of the final termination of this Action and
       any Related Proceeding, including any appeals, all DESIGNATED
       MATERIAL…shall… be returned… or be destroyed. The receiving Party shall
       verify the return or destruction by affidavit furnished to the producing party….”

       Ex. S, Dkt. 58 at ⁋ 23 (emphasis added); see also id., ¶ 12 (patent prosecution bar
       continues to apply “during the pendency of this Action and for one year after
       its conclusion, including any appeals.” (emphasis added)).

       Notably, the violation of the Protective Order in this case occurred not 30 days or a year or

more of the dismissal order, but within 2 days. Were the Court barred from enforcing its own

Protective Order after dismissal, a party could simply ignore important provisions of the Order

that can only occur after the case is terminated. Instead, as noted by the appellate court in Poliquin,

the Court retains the authority to oversee its Protective Order after the case is otherwise concluded.

       During the June 16, 2022 hearing, NetNut’s counsel conceded that a Protective Order still

applies even after dismissal.3 Ex. T at 28:21-29:3. NetNut also argues that the Settlement



3
  NetNut’s counsel separately relied upon Positive Software Solutions, Inc. v. New Century Mortg.
Corp. (cited for the first time during the June 16, 2022 hearing) for the proposition that this case
bars the Court from                                                Ex. T at 29:19-30:8. However,
that case is inapposite. Unlike the instant case which involves the violation of this Court’s
Protective Order, in Positive Software


                                                  3
Agreement limits the scope of the Protective Order

                                  . That is wrong, and none of the cases cited by NetNut

           in the face of breach of a Protective Order.4 Separate from a settlement agreement’s

                           , courts have an independent authority to interpret, modify, and/or

enforce their own Protective Orders. See e.g. Crawford v. Senex Law P.C., 2022 U.S. Dist. LEXIS

49645, *18-19 (W.D. Va. March 21, 2022). Similarly,                         cannot preclude a Court

from exercising its inherent power. The Fifth Circuit has affirmed the denial of a plaintiff’s motion

to                                                                                 , despite plaintiff

moving

              , based on the court’s inherent power to control its docket. Republic Ins. Co. v

PAICO Receivables LLC, 383 F.3d 341, 348-349 (5th Cir 2004) (“The inclusion of a ‘no waiver’

clause in a contract does not eliminate the district court’s inherent power to control its docket. In

this case the Settlement Agreement’s ‘no waiver’ clause is not sufficient overcome the district

court’s exercise of its inherent authority in light of Republic’s extensive use of the judicial

process.”). Neither the Protective Order nor the Settlement Agreement include

                                                      and NetNut has identified no such provisions.

       In addition, there is no dispute that NetNut’s counsel of record, Finnegan, is subject to the

Protective Order and barred from disclosing Bright Data’s confidential information. This motion



                                                       619 F.3d 458, 461 (5th Cir 2010) (emphasis
added).
4
  NetNut takes Wash. Nat. Ins. Co. v. Jefferies & Co., Inc. out of context as that court expressly
found that there was no disclosure of “confidential information” under the protective order. 1992
U.S. Dist. LEXIS 11292, *2-4 (N.D. Ill. July 27, 1992). Similarly, VanLeeuwen v. Farm Credit
Admin. is inapposite because that court recognized that a protective order could be violated
separate from the settlement agreement. 600 F.Supp. 1173, 1177 (D. Or. 1984)(“The protective
order is not a part of the settlement agreement. Violation, if there was one, does not justify setting
aside the judgment.”) (emphasis added).
                                                  4
However, the dispute here is not whether NetNut had to report that the lawsuit was settled or

dismissed – both sides agree that the fact of dismissal with prejudice was a public fact in the Court

record. Instead, the issue is whether NetNut was required to go beyond simply reporting that the

case was over and specifically had to report all of the details it opted to include in a press release

(and whether a press release was a required method of making its disclosure). NetNut (including

Safe-T) made a reasonable disclosure that did not reveal confidential settlement terms later in its

May 31, 2022 Form 6-K disclosure, which noted that there was a Settlement Agreement and that

the ongoing litigation was dismissed. The filing of the press release on May 19, 2022 with the SEC

was not required—the press release was filed with the SEC to provide cover for NetNut’s decision

to violate the Protective Order and make public confidential settlement terms.

       The SEC’s disclosure rules for public companies under the Securities Exchange Act of

1934 do not impose a “continuous disclosure” requirement. The rules impose periodic disclosure

requirements, such as (for non-US companies like Safe-T Group) the Form 20-F annual report and

an update for semi-annual financial statements. Here, where Safe-T Group makes a practice of

filing quarterly financial statements, it files more frequent updates of its financial condition. Form

6-K filings (See Def. Ex. U, Dkt. 168-22, at 2), like the May 19, 2022 filing by Safe-T Group, are

only required for material information that the company:

       (1) makes or is required to make public pursuant to the law of the jurisdiction of its domicile

or in which it is incorporated or organized (in this case, Israel),

       (2) files or is required to file with a stock exchange on which its securities are traded (in

this case Nasdaq and Tel Aviv) and which was made public by that exchange (not applicable to

our knowledge), or

       (3) distributes or is required to distribute to its securityholders (in this case, not applicable).



                                                   7
       Neither the securities laws of the United States, nor other applicable laws, required NetNut,

NetNut’s parent Safe-T Group or NetNut’s counsel of record to disclose the particular details of

the Confidential Settlement Agreement. As a publicly-traded company, NetNut’s parent Safe-T

Group Ltd. is required to disclose “material legal proceedings.”6 Def. Ex. U at 2. As Mr. Evans is

expected to testify, the disclosure of material legal proceedings requires the identification of legal

proceedings that can have a material effect on a business. However, a publicly-traded company

does not have an obligation to disclose all material information. “[I]t bears emphasis that § 10(b)

and Rule 10b-5(b) do not create an affirmative duty to disclose any and all material information.

Disclosure is required under these provisions only when necessary ‘to make . . . statements made,

in the light of the circumstances under which they were made, not misleading.[’] Even with respect

to information that a reasonable investor might consider material, companies can control what they

have to disclose under these provisions by controlling what they say to the market.” Matrixx

Initiatives, Inc. v. Siracusano, 563 U.S. 27, 44-45 (2011) (internal citations omitted); see also In

re Parametric Tech. Corp. Sec. Litig., 300 F. Supp. 2d 206, 212 (D. Mass. March 29, 2001) (“[A]

company’s obligation to disclose material nonpublic information arises from a duty imposed by

law, and in the absence of such a duty, a publicly traded company does not have a general

obligation to disclose internal information, even if investors might think it material to

understanding the company’s financial position. Neither Section 10(b) of the Exchange Act nor

Rule 10b-5 itself imposes an affirmative duty of disclosure.”)

           A. According to Bright Data’s Expert Robert Evans, Safe-T Group Was Not Obligated
              to Disclose Confidential Settlement Agreement Terms Under U.S. Securities Laws


6
  Safe-T Group met this requirement for example in its form 20-F filing for fiscal year ended
December 31, 2021 in which it stated that “[o]n June 18, 2021, Bright Data filed an action alleging
infringement by NetNut of U.S. Patent Nos. 10, 257,319 and 10,484,510. The action was also
filed in the United States District Court for the Eastern District of Texas, Marshall Division.” Dkt.
168-9 at 17.
                                                  8
        Bright Data has already submitted an expert declaration from Robert Evans (Ex. O, Dkt.

178-2), and anticipates Mr. Evans providing additional testimony at the June 28, 2022 evidentiary

hearing. Mr. Evans is a former Chief of the Office of International Corporate Finance, Securities

and Exchange Commission Division of Corporation Finance. As Mr. Evans describes in his

Declaration, Safe-T Group met its disclosure requirements through its March 29th Form 20-F

Annual Report filing and met its obligation to update through its May 31st Form 6-K filing. Ex. Q

at 1-2, Ex. O at 1.

        Safe-T Group previously disclosed this litigation between Bright Data and NetNut

including the statement “the ongoing litigation may potentially result in costs or liability that we

will absorb, as well as restrictions and/or cessation of NetNut’s operations and services in the

United States.” See Safe-T Group Form 20-F for the fiscal year ended December 31, 2021 and

Dkt. 168-9 at 17. Following the Settlement Agreement, Safe-T Group sufficiently updated this

disclosure in its May 31st Form 6-K filing., which disclosed its CEO Shachar Daniel as stating “we

are pleased to announce the settlement and dismissal of our outstanding patent litigation, which is

expected to contribute, together with our cost reduction plan, to a significant reduction in the

Company’s overall general and administration costs in the third quarter of 2022 and onward.” Ex.

Q at 1. Having already disclosed the Bright Data v. NetNut litigation in the 20-F filing, Safe-T

Group’s May 31, 2022 disclosure satisfied its disclosure requirements without having to disclose

any confidential terms of the Settlement Agreement.7 Ex. O at 1-2.



7
 NetNut’s reliance on Basic Inc. v. Levinson, 485 U.S. 224, 231-232 (1988) is misplaced. As
emphasized in Matrixx, “§ 10(b) and Rule 10b-5(b) do not create an affirmative duty to disclose
any and all material information. Disclosure is required under these provisions only when
necessary ‘to make… statements made, in the light of the circumstances under which they were
made, not misleading[’]…. [C]ompanies can control what they have to disclose under these
provisions by controlling what they say to the market.” Matrixx Initiatives, Inc. v. Siracusano, 563
U.S. 27, 44-45 (2011)(internal citations omitted). If anything, the press release itself was
                                                 9
       As Mr. Evans is anticipated to testify, Safe-T Group had no obligation to disclose

confidential terms

                                                                               None of these terms

had a material effect on NetNut’s business and Safe-T Group had no obligation to disclose them.

In addition, Safe-T Group’s previous SEC filings regarding this case between Bright Data and

NetNut created no such obligation for Safe-T Group to disclose such confidential information. In

Mr. Evan’s opinion, Safe-T Group was not required to selectively disclose favorable confidential

terms from the Settlement Agreement as part of an update. In addition, we expect Mr. Evans to

testify that, if Safe-T Group had approached him for his advice about the potential need to disclose

the Settlement Agreement and related update to its previous disclosures about this litigation, he

would have under the circumstances at the time advised that Safe-T Group could wait until it filed

its May 31st Form 6-K and limit the disclosures to exclude the extra disclosures in the Safe-T

Group May 19th Form 6-K and press release. We expect that Mr. Evans will also testify that the

existence of several Safe-T Group Securities Act of 1933 registration statements would not have

changed his answer.

           B. Safe-T Group’s May 19th Disclosure about the Settlement Agreement Was Not
              Required to Avoid Violation of U.S. Securities Laws, and if it Was Going to
              Disclose, It Was Not Permitted to Issue a One-Sided Disclosure




misleading and will require correction to update investors as to the “total mix of information,”
since it left out key information about


confirming that Bright Data’s patented methods continue to offers a significant and marketable
advantage over NetNut. Similarly, In re Hi-Crush Partners L.P. Sec. Litig is inapposite as that
case involved a securities registrant filing a redacted copy of a confidential agreement in response
to a letter from the SEC specifically directing the registrant to file the same. 2013 U.S. Dist LEXIS
171110, *27 (S.D.N.Y. Dec. 2, 2013).
                                                 10
       Further, as Mr. Evans is anticipated to testify, once Safe-T Group elected to disclose details

about the Settlement Agreement in its May 19th Form 6-K, it was required to avoid selective

disclosure of terms favorable to NetNut that would create an unbalanced picture for investors.

That issue could have been avoided if,

                                             But NetNut

                 issued a misleading statement           . Issuing a one-sided press release created

a misleading mix of information in violation of Matrixx Initiatives, Inc For example, Safe-T Group

disclosed that

                   but did not disclose that



                                                                                               Also,




                                                 Ex. A at ⁋⁋ 1 and 5. In addition,



Ex. A at ⁋ 3. Consequently,



       In addition, Safe-T Group also omitted important confidential terms that were not favorable

to NetNut



                                                    Ex. A at ⁋⁋ 3 and 10. Safe-T Group’s selective

disclosure of confidential information risked creating a misleading impression regarding the nature



                                                 11
       Regardless, even with SEC filings, it is indisputable that a party may request confidential

treatment. For example, in the form 8-K filing submitted by Applied Materials on September 20,

2004, Applied Materials requested confidential treatment for redacted portions of the agreement

submitted to the SEC. Ex. W at 3. In this case, Safe-T Group made no effort to seek confidential

treatment.

             E. Safe-T Group’s Listing on the Nasdaq and Tel-Aviv Stock Exchanges Does Not
                Impose a Different Materiality Requirement

       NetNut also argues that Safe-T Group is also obligated to disclose information as a

publicly-traded company listed on Nasdaq. However, “with respect to Safe-T Group’s listing on

Nasdaq, Nasdaq’s threshold for requiring public disclosure is based on ‘materiality,’ which has

the same meaning under the SEC’s rules.” Ex. O at 2. In addition, pursuant to IM-5250-1 of the

Nasdaq rules, “[u]nder unusual circumstances Companies may not be required to make public

disclosure of material events; for example, where it is possible to maintain confidentiality of those

events….” Ex. X at 11.

       In addition, NetNut has also asserted that Safe-T Group is “dual-listed on the NASDAQ

Stock Market and Tel-Aviv Stock Exchange (TASE).” Dkt. 168-16 at ⁋ 4. However, the Israel

Securities Authority provides guidance on its website stating that dual-listed companies, including

companies listed on NASDAQ and TASE, are exempt “from reporting requirements pursuant to

the Israeli Securities Law and allows them to continue reporting according to the foreign law that

applies to them (i.e. foreign security laws and regulations).” Ex. Y; see also Guide for Dual-Listed

Companies, Ex. Z.

             F. U.S. Securities Laws Impose No Requirement to Issue a Press Release

       Under U.S. securities laws, Safe-T had no obligation to issue a press release of any kind.

Ex. O at 2. If a party issues a press release, that press release is not required to be filed with the


                                                 13
SEC. “[P]ress releases are not required to be filed with the SEC. See 17 CFR § 229.10.” In re

Cylink Sec. Litig., 178 F. Supp. 2d 1077, 1086 (N.D. Cal. 2001). Further, “Under the securities

laws, ‘a defendant is not required to disclose all known information, but only information that is

necessary to make other statements not misleading.’ Kapps v. Torch Offshore, Inc., 379 F.3d 207,

212 n.6 (5th Cir. 2004).” Firefighters Pension & Relief Fund v. Bulmahn, 147 F. Supp. 3d 493,

535-36 (E.D. La. 2015). Clearly, Safe-T filed its press release concurrently with the SEC in an

improper attempt to circumvent the confidentiality of the Settlement. Such disclosure was a

violation of the Protective Order as well as the Settlement Agreement, which required



                                                                Ex. A at 3.

       4. The Court Has the Authority to Grant Relief Including Ordering Sanctions
          Against NetNut and Its Counsel, Dissemination of the Same Order to the SEC and
          Medai Outlets, NetNut’s Payment of Bright Data’s Fees and Costs Associated
          With This Motion, and Any Other Appropriate Relief

       As addressed above, the Court has the authority to enforce its Protective Order and sanction

NetNut under both its Protective Order and the Court’s inherent powers. This Court provided

similar relief to Bright Data, formerly known as Luminati Networks Ltd., in the case of Luminati

Networks Ltd. v. UAB Tesonet and UAB Metacluster LT, Case No. 2:18-cv-299-JRG (E.D. Tex.

April 7, 2020). Ex. I at 2. The Court may also issue monetary sanctions other than costs and fees

to deter future conduct by other litigants, including under Rule 16(f)(1)(B). See e.g. Pers. Audio,

LLC v. Apple, Inc., 2011 U.S. Dist. LEXIS 146756, *5 (E.D. Tex. 2011).

       In this case, the disclosure is even more egregious than the Tesonet case as NetNut and its

counsel disclosed highly confidential terms from the Settlement Agreement giving the misleading

and deceptive appearance that Bright Data’s patents have little value. Immediately upon discovery

of NetNut’s breach of the Protective Order,


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Dated: July 14, 2022        Respectfully submitted,

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                                CERTIFICATE OF SERVICE
        I hereby certify that all counsel of record who are deemed to have consented to electronic

service are being served this 14th day of July 2022, with a copy of this document via CM/ECF.



                                             /s/ Ronald Wielkopolski




             CERTIFICATE OF AUTHORIZATION TO FILE UNDER SEAL

       I hereby certify that the foregoing document is being filed under seal pursuant to the

Protective Order entered in this matter.

                                             /s/ Ronald Wielkopolski




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